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                         Exhibit 3
TO UNITED STATES’ REPLY TO BPXP’S OPPOSITION TO MOTION IN LIMINE TO
PERMIT RELEVANT EVIDENCE CONCERNING BP P.L.C. AND ITS AFFILIATES
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                                                                   BRENDA PENNINGTON BP AFFILIATE BOARD OF DIRECTOR MEMBERSHIPS




Tier Level    Entity_Name                                       First Name   Last Name    Title       Source                                               Parent Entity                      Grand Parent Entity
             4 Bp Lubricants Usa Inc                            Brenda H     Pennington   Secretary   Corporation Wiki                                     BP America Inc                     BP Holdings North America Limited
             4 Mardi Gras Transportation System                 Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP America Inc                     BP Holdings North America Limited
             4 Mardi Gras Transportation System                 Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP America Inc                     BP Holdings North America Limited
             5 Castrol Industrial North America Inc             Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Lubricants USA Inc              BP America Inc
             5 Bp Solar International Inc                       Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Corporation North America Inc   BP America Inc
             5 Bp Solar International Inc                       Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Corporation North America Inc   BP America Inc
             5 BP Company North America Inc                     Brenda H     Pennington   Director    Corporation Wiki                                     BP Corporation North America Inc   BP America Inc
             5 BP Pipelines (North America) Inc                 Brenda H     Pennington   Secretary   Corporation Wiki                                     The Standard Oil Company           BP Company North America inc
             5 CH‐TWENTY INC                                    Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   Atlantic Richfield Company         BP America Inc
             5 Arco Products Company                            Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   Atlantic Richfield Company         BP America Inc
             5 CH‐TWENTY INC                                    Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   Atlantic Richfield Company         BP America Inc
             5 Arco Products Company                            Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   Atlantic Richfield Company         BP America Inc
             5 BP Pipelines (North America) Inc                 Brenda H     Pennington   Secretary   Corporation Wiki                                     The Standard Oil Company           BP America Inc
             5 Castrol Industrial North America Inc             Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Lubricants USA Inc              BP America Inc
             6 Arco Environmental Remediation LLC               Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   CH‐TWENTY, INC.                    Atlantic Richfield Company
             6 BP OIL PIPELINE COMPANY                          Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc   Bp Company North America Inc
             6 BP America Production Company                    Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Company North America Inc       BP Corporation North America Inc
             6 BP America Production Company                    Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Company North America Inc       BP Corporation North America Inc
             6 AMOCO PROPERTIES INCORPORATED                    Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Company North America Inc       BP Corporation North America Inc
             6 BP Products North America Inc                    Brenda H     Pennington   Secretary   Corporation Wiki                                     BP Company North America Inc       BP Corporation North America Inc
             6 BP OIL PIPELINE COMPANY                          Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc   The Standard Oil Company
             6 Bp Amoco Chemical Company                        Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Company North America Inc       BP Corporation North America Inc
             6 Arco Environmental Remediation LLC               Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   CH‐TWENTY, INC.                    Atlantic Richfield Company
             6 BP Offshore Pipelines Inc                        Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc   The Standard Oil Company
             6 BP Pipelines (North America) Inc                 Brenda H     Pennington   Secretary   Corporation Wiki                                     Bp Company North America Inc       BP Corporation North America Inc
             6 BP Offshore Pipelines Inc                        Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc   Bp Company North America Inc
             6 Bp Amoco Chemical Company                        Brenda H     Pennington   Director    Corporation Wiki                                     BP Company North America Inc       BP Corporation North America Inc
             6 BP Offshore Pipelines Inc                        Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc   Bp Company North America Inc
             6 BP Offshore Pipelines Inc                        Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc   The Standard Oil Company
             6 BP Products North America Inc                    Brenda H     Pennington   Director    Corporation Wiki                                     BP Company North America Inc       BP Corporation North America Inc
             6 BP Global Special Products (America) Inc         Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   Burmah Castrol Holdings Inc        BP Lubricants USA Inc
             7 BP Products North America Inc                    Brenda H     Pennington   Secretary   Corporation Wiki                                     The Standard Oil Company           BP Company North America inc
             7 Amoco Equipment Leasing Company                  Brenda H     Pennington   Director    Corporation Wiki                                     BP America Production Company      BP Company North America Inc
             7 BP Alternative Energy North America Inc          Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP America Production Company      BP Company North America Inc
             7 Amoco Equipment Leasing Company                  Brenda H     Pennington   Secretary   Corporation Wiki                                     BP America Production Company      BP Company North America Inc
             7 American Oil Company                             Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Products North America Inc      BP Company North America Inc
             7 Bp Canada Energy Marketing Corp                  Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Canada Energy Company           Amoco Canada International Holdings B V
             7 American Oil Company                             Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Products North America Inc      The Standard Oil Company
             7 BP Alternative Energy North America Inc          Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP America Production Company      BP Company North America Inc
             7 ENERGY GLOBAL INVESTMENTS (USA) INC              Brenda H     Pennington   Secretary   Corporation Wiki                                     The Standard Oil Company           BP America Inc
             7 Amoco Marketing Environmental Services Company   Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Products North America Inc      The Standard Oil Company
             7 BP Products North America Inc                    Brenda H     Pennington   Secretary   Corporation Wiki                                     The Standard Oil Company           BP America Inc
             7 ENERGY GLOBAL INVESTMENTS (USA) INC              Brenda H     Pennington   Secretary   Corporation Wiki                                     The Standard Oil Company           BP Company North America inc
             7 BP Products North America Inc                    Brenda H     Pennington   Director    Corporation Wiki                                     The Standard Oil Company           BP America Inc
             7 Amprop Finance Company                           Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   Amoco Properties Incorporated      BP Company North America Inc
             7 Amoco Marketing Environmental Services Company   Brenda H     Pennington   Director    Corporation Wiki                                     BP Products North America Inc      The Standard Oil Company
             7 Amoco Marketing Environmental Services Company   Brenda H     Pennington   Director    Corporation Wiki                                     BP Products North America Inc      BP Company North America Inc
             7 Pan American Petroleum Corporation               Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP America Production Company      BP Company North America Inc
             7 BP Products North America Inc                    Brenda H     Pennington   Director    Corporation Wiki                                     The Standard Oil Company           BP Company North America inc
             7 Arco Midcon LLC                                  Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc   Bp Company North America Inc
             7 Arco Midcon LLC                                  Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc   The Standard Oil Company
             7 Bp Sakhalin Inc                                  Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP America Production Company      BP Company North America Inc
             7 Amoco Marketing Environmental Services Company   Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Products North America Inc      BP Company North America Inc
             7 Black Lake Pipe Line Company                     Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc   The Standard Oil Company
             7 BP Exploration & Production Inc                  Brenda H     Pennington   Director    Corporation Wiki                                     BP America Production Company      BP Company North America Inc
             7 Amoco Supply and Trading Company                 Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP America Production Company      BP Company North America Inc
             7 Amoco Supply and Trading Company                 Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP America Production Company      BP Company North America Inc
             7 American Oil Company                             Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Products North America Inc      The Standard Oil Company
             7 Black Lake Pipe Line Company                     Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc   Bp Company North America Inc
             7 Black Lake Pipe Line Company                     Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc   Bp Company North America Inc
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                                                                       BRENDA PENNINGTON BP AFFILIATE BOARD OF DIRECTOR MEMBERSHIPS


Tier Level      Entity_Name                                        First Name   Last Name    Title       Source                                               Parent Entity                         Grand Parent Entity
              7 Black Lake Pipe Line Company                       Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc      The Standard Oil Company
              7 TOC‐ROCKY MOUNTAINS INC                            Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP America Production Company         BP Company North America Inc
              7 Pan American Petroleum Corporation                 Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP America Production Company         BP Company North America Inc
              7 BP ENERGY COMPANY                                  Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP America Production Company         BP Company North America Inc
              7 Bp Sakhalin Inc                                    Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP America Production Company         BP Company North America Inc
              7 Arco Midcon LLC                                    Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc      Bp Company North America Inc
              7 Arco Midcon LLC                                    Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Pipelines (North America) Inc      The Standard Oil Company
              7 Vastar Holdings Inc                                Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP America Production Company         BP Company North America Inc
              7 BP Exploration & Production Inc                    Brenda H     Pennington   Secretary   Corporation Wiki                                     BP America Production Company         BP Company North America Inc
              7 Amprop Finance Company                             Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   Amoco Properties Incorporated         BP Company North America Inc
              7 American Oil Company                               Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Products North America Inc         BP Company North America Inc
                                                                                             Corporate
              8 Bp West Coast Products LLC                         Brenda H     Pennington               2010 Texas Franchise Tax Public Information Report   BP Products North America Inc         BP Company North America Inc
                                                                                             Secretary
              8 Bp Wind Energy North America Inc                   Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Alternative Energy North America Inc BP America Production Company
              8 Amoco High Island Pipeline Company                 Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   Amoco Pipeline Holding Company        BP Pipelines (North America) Inc
              8 Amoco High Island Pipeline Company                 Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   Amoco Pipeline Holding Company        BP Pipelines (North America) Inc
              8 Amoco Rancho Pipeline Company                      Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   Amoco Pipeline Holding Company        BP Pipelines (North America) Inc
              8 CSGP of Southeast Texas, LLC                       Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Alternative Energy North America Inc BP America Production Company

              8 Amoco Corporate Development Company ‐ Latin America Brenda H    Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   Amoco Oil Holding Company             BP Products North America
              8 Enstar LLC                                         Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   ARCO Unmar Holdings LLC
              8 Enstar LLC                                         Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   ARCO Unmar Holdings LLC
              8 AEGP General, LLC                                  Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Alternative Energy North America Inc BP America Production Company

              8 AEGP General, LLC                                  Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Alternative Energy North America Inc BP America Production Company

              8 TXC Green Power LLC                                Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Alternative Energy North America Inc BP America Production Company
              8 BP GAS AND POWER COMPANY                           Brenda H     Pennington   Officer     2010 Texas Franchise Tax Public Information Report   BP Energy Company                     BP America Production Company
              8 Amoco Rancho Pipeline Company                      Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   Amoco Pipeline Holding Company        BP Pipelines (North America) Inc
              8 Welchem Inc                                        Brenda H     Pennington   Director    Corporation Wiki                                     BP Amoco Chemical Holding Company     BP Amoco Chemical Company
              8 AMOCO CAPLINE PIPELINE COMPANY                     Brenda H     Pennington   Director    Corporation Wiki                                     Amoco Pipeline Holding Company        BP Pipelines (North America) Inc
              8 Bp West Coast Products LLC                         Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Products North America Inc         The Standard Oil Company
              8 Bp West Coast Products LLC                         Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Products North America Inc         BP Company North America Inc
                                                                                                                                                              Southern Ridge Pipeline Holding
              8 Southern Ridge Pipeline Lp LLC                     Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report                                         BP Pipelines (North America) Inc
                                                                                                                                                              Company
              8 Bp Wind Energy North America Inc                   Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Alternative Energy North America Inc BP America Production Company
                                                                                             Corporate
              8 Bp West Coast Products LLC                         Brenda H     Pennington               2010 Texas Franchise Tax Public Information Report   BP Products North America Inc         The Standard Oil Company
                                                                                             Secretary
                                                                                                                                                              Southern Ridge Pipeline Holding
              8 Southern Ridge Pipeline Lp LLC                     Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report                                         BP Pipelines (North America) Inc
                                                                                                                                                              Company
              8 Amoco Corporate Development Company ‐ Latin America Brenda H    Pennington   Director    2010 Texas Franchise Tax Public Information Report   Amoco Oil Holding Company             BP Products North America
              8 VASTAR GAS MARKETING INC                           Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   Vastar Holdings Inc                   BP America Production Company
              8 BP GAS AND POWER COMPANY                           Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Energy Company                     BP America Production Company
              8 Welchem Inc                                        Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Amoco Chemical Holding Company     BP Amoco Chemical Company
              8 AMOCO OLEFINS CORPORATION                          Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Amoco Chemical Holding Company     BP Amoco Chemical Company
              9 BP Biofuels Advanced Technology                    Brenda H     Pennington   Secretary   Corporation Wiki                                     BP Biofuels North America LLC         BP Alternative Energy North America Inc
              9 Ae Power Services LLC                              Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   BP Wind Energy North America Inc      BP Alternative Energy North America Inc
              9 Ae Power Services LLC                              Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   BP Wind Energy North America Inc      BP Alternative Energy North America Inc
             10 Orion Post Land Investments LLC                    Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   Orion Energy LLC                      BP Wind Energy North America Inc
             10 Alexis Wind Farm LLC                               Brenda H     Pennington   Director    2010 Texas Franchise Tax Public Information Report   Orion Energy LLC                      BP Wind Energy North America Inc
             10 Orion Post Land Investments LLC                    Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   Orion Energy LLC                      BP Wind Energy North America Inc
             10 Alexis Wind Farm LLC                               Brenda H     Pennington   Secretary   2010 Texas Franchise Tax Public Information Report   Orion Energy LLC                      BP Wind Energy North America Inc
             11 Sherbino Mesa I Land Investments LLC               Brenda H     Pennington   Secretary   Corporation Wiki                                     Orion Energy Holdings LLC             Orion Energy LLC
             11 Sherbino Mesa I Land Investments LLC               Brenda H     Pennington   Director    Corporation Wiki                                     Orion Energy Holdings LLC             Orion Energy LLC
